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       in his official capacity as Attorney General
   9   of the State of California
  10                      IN THE UNITED STATES DISTRICT COURT
  11                  FOR THE SOUTHERN DISTRICT OF CALIFORNIA
  12                                       CIVIL DIVISION
  13
  14
       VIRGINIA DUNCAN et al.,                         Case No. 3:17-cv-01017-BEN-JLB
  15
                                         Plaintiffs,
  16
                    v.                                 DEFENDANT’S BRIEF IN
  17                                                   RESPONSE TO PLAINTIFFS’
  18   ROB BONTA, in his official capacity             BRIEF FILED ON
       as Attorney General of the State of             FEBRUARY 10, 2023
  19   California,
                                                        Courtroom: 5A
  20                                    Defendant.      Judge:        Hon. Roger T. Benitez
                                                        Action Filed: May 17, 2017
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              Defendant’s Brief in Response to the Plaintiffs’ Brief Filed on February 10, 2023
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   1                                        INTRODUCTION
   2        California Penal Code section 32310 (“Section 32310”), which restricts large-
   3   capacity magazines capable of holding more than ten rounds (“LCMs”), fully
   4   comports with the Second Amendment under the standard announced in New York
   5   State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111 (2022). Plaintiffs have
   6   failed to satisfy Bruen’s threshold requirement to show that the “plain text” of the
   7   Second Amendment contemplates a right to possess LCMs. But even if they had
   8   made that threshold showing, Plaintiffs’ challenge to Section 32310 nevertheless
   9   fails under Bruen’s historical analysis. Section 32310 is consistent with a long
  10   tradition of restrictions on items that are uniquely dangerous and especially prone to
  11   criminal misuse. Under the “more nuanced” analytical approach that this case
  12   requires, these historical laws are “relevantly similar” to Section 32310—that is,
  13   they are comparable in the minimal burdens they impose on the Second
  14   Amendment right to armed self-defense and in the justifications underlying them.
  15        Plaintiffs fail to rebut the Attorney General’s showing that historical firearms
  16   laws and modern LCM restrictions are “relevantly similar” under Bruen. Instead,
  17   Plaintiffs rely on an incorrect interpretation of Bruen that would require a
  18   government to identify a “historical twin” or “dead ringer” in the historical record.
  19   Bruen, 142 S. Ct. at 2133. As history establishes, firearms restrictions before,
  20   during, and after ratification of the Second and Fourteenth Amendments, including
  21   those limiting gunpowder possession, “dangerous weapons,” and “trap guns,” are
  22   analogous to Section 32310 in burdens and justifications, and thus establish its
  23   constitutionality under Bruen.1
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  25
  26         1
                The Attorney General incorporates by reference all of his prior briefing in
       this matter, as well as all submitted supporting declarations; to the extent any of
  27   Plaintiffs’ additional objections as set forth in their response to the Court’s Order
       entered on December 15, 2022 are not discussed herein, the Attorney General relies
  28   on arguments submitted in earlier briefing.
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   1                                           ARGUMENT
   2   I.   PLAINTIFFS HAVE FAILED TO SHOW THAT THE “PLAIN TEXT” OF THE
            SECOND AMENDMENT COVERS THEIR CONDUCT.
   3
            At the first step of the Bruen analysis, Plaintiffs cannot establish that LCMs
   4
       are bearable “Arms” protected by the Second Amendment. While an ammunition-
   5
       feeding device may be “necessary for the function of those firearms designed to use
   6
       them,” Pls.’ Suppl. Br. re: Charts of Historical Laws (Dkt. 141) (“Pls.’ Suppl. Br.”)
   7
       at 3, Section 32310 does not impede access to an ammunition-feeding device. See
   8
       Duncan v. Bonta, 19 F.4th 1087, 1104 (9th Cir. 2021) (en banc), cert. granted,
   9
       judgment vacated, 142 S. Ct. 2895 (2022), vacated and remanded, 49 F.4th 1228
  10
       (9th Cir. 2022).2 Moreover, Plaintiffs cannot simply characterize the conduct
  11
       regulated by Section 32310 as the mere “obtaining” or “possession” of ammunition
  12
       (Pls.’ Suppl. Br. at 3), or the mere “possession” of a firearm. Plaintiffs must define
  13
       their proposed course of conduct with greater specificity. See Def.’s Br. in Resp. to
  14
       the Court’s Order Entered Dec. 15, 2022 (“Def.’s Br. re: Dec. 15 Order”) (Dkt.
  15
       142) at 4 n.7); United States v. Reyna, 2022 WL 17714376, at *4 (N.D. Ind. Dec.
  16
       15, 2022) (characterizing the proposed course of conduct as “‘possession of a
  17
       firearm with an obliterated serial number’ and not ‘mere possession [of a
  18
       firearm]’” (emphasis added)); Oakland Tactical Supply, LLC v. Howell Twp., 2023
  19
       WL 2074298, at *3 (E.D. Mich. Feb. 17, 2023) (noting that “[t]he proposed
  20
       conduct could not be simply ‘training with firearms’” where challenged zoning
  21
       ordinance did not prohibit “training with firearms”). And Plaintiffs cannot show
  22
       that firearms equipped with LCMs are commonly used (or even suitable) for self-
  23
       defense. See Def.’s Suppl. Br. at 7–11; see also Suppl. Decl. of Lucy P. Allen (Dkt.
  24
       118-1) ¶ 10 (out of 736 self-defense incidents between January 2011 and May 2017
  25
       that involved the use of firearms, defenders fired only 2.2 shots on average).
  26
  27
             2
  28             Although Duncan was vacated, it is cited for its persuasive value.
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   1         Plaintiffs claim that firearms equipped with LCMs are “used for self-defense”
   2   because they are purportedly “chosen” by civilians for that purpose. Pls.’ Suppl.
   3   Br. at 3-4. But this “choice” is often subject to influence by manufacturers and
   4   dealers in the sale and marketing of certain firearms. See Decl. of Ryan Busse
   5   (Dkt. 118-3) ¶¶ 9–10. Plaintiffs also claim that LCMs are purportedly “common”
   6   because 62.4% of respondents polled in a 2021 survey owned magazines over ten
   7   rounds for home defense. Id. at 4. But even if true, this claim does not demonstrate
   8   that LCMs are commonly used or well-suited to lawful, defensive applications. See
   9   Def.’s Suppl. Br. at 16–23.
  10         As the Attorney General has shown, LCMs are not instruments of self-defense
  11   but, to the contrary, are most useful in combat, and thus fall outside the plain text of
  12   the Second Amendment. Def.’s Suppl. Br. at 7–11; Ocean State Tactical, LLC v.
  13   State of Rhode Island, 2022 WL 17721175, at *3, 14–15 (D.R.I. Dec. 14, 2022);
  14   Or. Firearms Fed’n, Inc. v. Brown (Oregon Firearms), 2022 WL 17454829, at
  15   *10–11 (D. Or. Dec. 6, 2022). Plaintiffs cannot meet their burden at the textual
  16   stage under Bruen.
  17   II.   SECTION 32310 IS CONSISTENT WITH THE NATION’S TRADITION OF
  18         FIREARM REGULATION.3

  19         A.    Plaintiffs Misstate Bruen’s “Text-and-History” Standard.

  20         Under Bruen’s historical analysis, a government may justify a modern
  21   firearm-related restriction by identifying a “relevantly similar” restriction enacted
  22   when the Second or Fourteenth Amendments were ratified. 142 S. Ct. at 2132–33.
  23   In determining whether a restriction is “relevantly similar,” a court should examine
  24   “how and why the regulations burden a law-abiding citizen’s right to armed self-
  25          3
                The Attorney General preserves all prior objections to the post-Bruen
  26   proceedings in this matter, including those premised on the need for a reasonable
       discovery period. Plaintiffs’ assertion that the Attorney General “has not provided
  27   Plaintiffs with either the full text of most of these laws or a source from where [the
       Attorney General] obtained them” (Pls.’ Suppl. Br. at 8, n. 3) only illustrates the
  28   need for a reasonable discovery period to assess the historical record.
                                                       3
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   1   defense.” Id. And a “more nuanced approach” is needed when a modern restriction
   2   addresses “unprecedented societal concerns or dramatic technological changes.” Id.
   3   at 2131–32. As such, a proper Bruen analysis requires a holistic and contextualized
   4   examination of the historical record. See Def.’s Br. in Resp. to the Court’s Order
   5   Entered on Feb. 7, 2023 (“Def.’s Br. re: Feb. 7 Order”) (Dkt. 143) at 2–3. Indeed,
   6   the Supreme Court acknowledged that under some circumstances, a Bruen analysis
   7   “can be difficult” and may require nuanced judgments about how to interpret
   8   relevant evidence. Bruen, 142 S. Ct. at 2130 (quoting McDonald v. City of
   9   Chicago, 561 U.S. 742, 803-04 (2010) (Scalia, J., concurring)). Because Section
  10   32310 addresses both dramatic changes in firearms technologies (see Def.’s Br. re:
  11   Dec. 15 Order at 12–14) and the unprecedented social problem of mass shootings
  12   (see id. at 14–16),4 a more nuanced approach is warranted here.
  13        Plaintiffs do not acknowledge this “more nuanced approach,” suggesting
  14   instead that the Court “consider whether the challenged modern law and the
  15   proposed historical analogue impose a similar type of burden (not just a similarly
  16   severe burden) on the right of armed self-defense.” Pls.’ Suppl. Br. at 6. But to the
  17   extent Plaintiffs rely on a dissent from the Ninth Circuit’s vacated en banc decision
  18   in Duncan, 19 F.4th at 1156–59 (Bumatay, J., dissenting) for this proposition, that
  19   reliance is unavailing. That dissent is not binding on this Court, and it pre-dates
  20   Bruen. Similarly, Plaintiffs’ reliance on pre-Bruen proceedings in this matter for
  21   the proposition that “history and tradition establish the complete absence of ‘a well-
  22   established and representative historical analogue,’” Pls.’ Suppl. Br. at 7, is
  23   unavailing, because neither this Court nor the Ninth Circuit analyzed Section 32310
  24   under Bruen. See, e.g., Duncan v. Becerra, 366 F. Supp. 3d 1131, 1149–53 (S.D.
  25         4
              Recently, on January 21, 2023, LCMs were used in the mass shooting in
  26   Monterey Park, California, and those magazines would have been subject to Section
       32310(c) had it gone into effect. See Jeremy White & K.K. Rebecca Lai, What We
  27   Know About the Gun Used in the Monterey Park Shooting, N.Y. Times, Jan. 26,
       2023 (noting that 42 shell casings and an LCM were recovered at the Star Ballroom
  28   Dance Studio), http://bit.ly/3IKmq4T.
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   1   Cal. Mar. 29, 2019) (concluding that Section 32310 is not “presumptively lawful”
   2   because “there is no longstanding historically-accepted prohibition on detachable
   3   magazines of any capacity” or on “firing-capacity”); Duncan v. Becerra, 970 F.3d
   4   1133, 1150–51 (9th Cir. 2020) (concluding Section 32310 is not “presumptively
   5   lawful” because “laws restricting ammunition capacity emerged in 1927 and all but
   6   one have since been repealed”).5
   7        Contrary to Plaintiffs’ arguments (see Pls.’ Suppl. Br. at 12, 13, 14, 15, 16,
   8   20), Bruen makes clear that the means by which a restriction burdens a Second
   9   Amendment right is not determinative; rather, what is determinative is the degree to
  10   which the restriction does so (and why). See, e.g., Bruen, 142 S. Ct. at 2145
  11   (distinguishing historical restrictions from challenged statute where “[n]one of these
  12   [historical] restrictions imposed a substantial burden on public carry analogous to
  13   the burden created by New York’s restrictive licensing regime” (emphases added));
  14   id. at 2150 (distinguishing historical limitations where “none operated to prevent
  15   law-abiding citizens with ordinary self-defense needs from carrying arms in public
  16   for that purpose” (emphasis added)); see also Def.’s Br. re: Dec. 15 Order at 24–25.
  17   Plaintiffs’ suggested approach would effectively require the Attorney General to
  18   identify a “historical twin” or “dead ringer” as an analogous restriction—an
  19   approach that Bruen explicitly rejected. See Bruen, 142 S. Ct. at 2133.
  20        B.    Pre-Founding and Post-Reconstruction Laws Are Relevant.
  21        Plaintiffs dispute the relevance of analogous laws in English history and after
  22   the Fourteenth Amendment was ratified. See Pls. Suppl. Br. at 8–9, 11–12, 17, 19–
  23   20. But as Bruen explains, the Second Amendment codified a pre-existing right
  24
             5
                Plaintiffs contend that their suggested approach is warranted in order to
  25   avoid any impermissible balancing of burdens and benefits (Pls.’ Suppl. Br. at 6),
       but they do not explain how comparing historical and modern burdens and
  26   justifications would require any balancing. In applying Bruen, judges retain “the
       ordinary tools of reasoning that they have employed throughout the common law
  27   tradition,” as Bruen did not create “some now-freshly-discovered species of judicial
       power confined to a single, rigid form of resolving ambiguity.” United States v.
  28   Kelly, 2022 WL 17336578, at *6 (M.D. Tenn. Nov. 16, 2022).
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   1   “inherited from our English ancestors,” 142 S. Ct. at 2127 (quoting Heller, 554
   2   U.S. at 599), and thus restrictions on that right recognized under English law prior
   3   to the founding of the United States are relevant in understanding the scope of the
   4   inherited right. And Bruen also recognized that “a regular course of practice can
   5   liquidate & settle the meaning of disputed or indeterminate terms & phrases in the
   6   Constitution,” especially “where a governmental practice has been open,
   7   widespread, and unchallenged since the early days of the Republic.” Id. at 2136–37
   8   (internal quotation marks omitted). The laws cited from early England and the
   9   post-Reconstruction era—which are entirely consistent with laws cited during the
  10   formation of the Second and Fourteenth Amendments—are thus relevant under
  11   Bruen. See Def.’s Suppl. Br. at 34–37, 47–49.
  12        C.    Historical Regulations on Gunpowder Possession Are
                  Relevantly Similar.
  13
  14        As the Attorney General has established, New York’s 1784 law regulating the
  15   possession of gunpowder (which was in effect at the time of the Second
  16   Amendment’s ratification) is relevantly similar to Section 32310. Its burden on
  17   Second Amendment rights was comparable to Section 32310’s burden because, for
  18   example, it limited—without eliminating—the right to possess an item essential to
  19   the operation of a firearm for self-defense purposes; it required maximum quantities
  20   of that item to be stored in separate containers; and it limited the amount of that
  21   item that could be kept in private “magazines.” See Def.’s Br. re: Feb. 7 Order at 4.
  22   Indeed, the law imposed an even greater burden than Section 32310 due to the
  23   extended time it took to reload founding-era muskets. Id. The law’s burden was
  24   also comparably justified—the restriction was not intended to serve any illegitimate
  25   purpose (such as to disarm or otherwise limit any lawful act of armed defense), but
  26   to prevent significant harm to the public. See id. at 5. And it stands in line with a
  27   “broad tradition” of consistent regulation of especially dangerous arms. See id. at
  28   4. Moreover, there is no record that New York’s gunpowder storage law was
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   1   understood to be inconsistent with the Second Amendment during the relevant time
   2   period, see Def.’s Br. re: Dec. 15 Order at 23–24.
   3        Instead, Plaintiffs argue that these laws are distinguishable because they
   4   regulated only the “manner” of keeping of gunpowder (Pls.’ Suppl. Br. at 12–13),
   5   but as indicated above and in the Attorney General’s earlier briefing, the manner or
   6   mode of regulation is irrelevant to Bruen’s analogical analysis, so long as the
   7   burdens imposed and justifications are comparable.6 And to the extent gunpowder
   8   laws “did not completely ban the possession of any common arm,” id. at 13,
   9   Section 32310 does not do so either—it permits the possession of magazines of less
  10   than 10 rounds and does not restrict the possession of any actual firearm.
  11        Plaintiffs further argue that the justifications underlying gunpowder laws and
  12   Section 32310 are not sufficiently similar because the former were intended “to
  13   prevent catastrophic explosions and fires in town limits and near powder houses,”
  14   and “the highly combustible and unstable nature of loose gunpowder” is “not a
  15   modern concern.” Pls.’ Suppl. Br. at 12–13. But as with Section 32310,
  16   gunpowder laws were intended to prevent significant harm to the public as well as
  17   unintended injury to bystanders. See Def.’s Br. re: Dec. 15 Order at 23–24. If any
  18   of the specific public safety concerns underlying Section 32310 differ in kind, that
  19   is because they arise from subsequent technological and social developments.
  20   Plaintiffs would preclude modern governments from invoking historical restrictions
  21   to justify newer restrictions addressing unprecedented safety concerns, even if, for
  22   practical purposes, the actual burdens imposed were comparable. Bruen explicitly
  23   counsels otherwise, by endorsing a “more nuanced approach.”
  24
  25
  26
             6
               In any event, Section 32310 regulates in a similar “manner”—it limits the
  27   quantity of ammunition that can be kept in a magazine to ten or fewer rounds, much
       as the New York gunpowder law required seven-pound quantities of gunpowder to
  28   be stored in separate containers. See Def.’s Br. re: Feb. 7 Order at 4.
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   1        D.    “Dangerous Weapons” Laws Are Relevantly Similar.
   2        From 1813 to the Mexican War, nine states and territories restricted the
   3   concealed carry of weapons such as Bowie knives, pistols, dirks, and sword canes.
   4   See Def.’s Br. re: Dec. 15 Order at 21. These laws were intended to address the
   5   growing problem of murders and assaults that spread throughout the South. Id.
   6   And two years before the ratification of the Fourteenth Amendment, New York
   7   prohibited the “furtive possession” and carrying of slungshots, billies, sandclubs,
   8   metal knuckles, and dirks. Id. at 22.7 Like Section 32310, these laws imposed a
   9   comparably modest burden on Second Amendment rights insofar as they did not
  10   restrict weapons well-suited to self-defense, and they left effective alternative
  11   weapons available for that purpose. Id. at 24. And they were similarly justified
  12   because, like Section 32310, they were enacted in regions experiencing a rise in
  13   specific types of unlawful activities (that is, murders and serious assaults) in which
  14   the regulated items were often used. Id. at 25. As such, because “high-capacity
  15   magazines are particularly dangerous weapon accessories, their regulation accords
  16   with history and tradition.” Bevis v. City of Naperville, Illinois, 2023 WL 2077392,
  17   at *16 (N.D. Ill. Feb. 17, 2023). These laws were consistent with earlier-enacted
  18   laws traced to the pre-founding era [6].8
  19        Plaintiffs attempt to distinguish these regulations from Section 32310 (Pls.’
  20   Suppl. Br. at 14–16), arguing that they merely regulated the method of carrying the
  21
             7
                Plaintiffs’ characterization of Memphis’s law restricting both the concealed
  22   carry and sale of “pocket pistols” as a “late law” (see Def.’s Suppl. Br. at 16) is
       belied by the year of its enactment (1867), which predated the ratification of the
  23   Fourteenth Amendment the following year.
  24
              8
                Contrary to Plaintiffs’ claims (Pls.’ Suppl. Br. at 10–11), laws applicable to
       only certain groups may still reflect a relevant tradition of firearm regulation, even
  25   if those laws were morally repugnant and would be unconstitutional today under the
       Equal Protection Clause or other provision of the Constitution. See Def.’s Br. re:
  26   Dec. 15 Order at 18, n. 21. By enumerating specific weapons for heightened
       regulation, those historical laws provide additional evidence of a regulatory
  27   tradition, even if the tradition was applied more narrowly and in an otherwise
       unconstitutional manner. See id.
  28
                                                      8
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    1   regulated items, rather than their acquisition or possession more broadly. But this
    2   is contrary to the Supreme Court’s determination that “the important limitation on
    3   the right to keep and carry” weapons “is fairly supported by the historical tradition
    4   of prohibiting the carrying of dangerous and unusual weapons.” Heller, 554 U.S.
    5   at 627 (emphases added); see also Def.’s Br. re: Dec. 15 Order at 24–25.9
    6        To the extent Plaintiffs argue that these laws differed in “burden” because they
    7   included exceptions for self-defense or travel, Pls.’ Suppl. Br. at 16, the Attorney
    8   General has demonstrated that LCMs are not necessary or even suitable to engage
    9   in private self-defense, and California’s laws restricting them allow for effective
   10   alternatives. Similarly, while Plaintiffs cite to a Georgia Supreme Court case that
   11   found a ban on the sale and possession of Bowie knives, pistols, dirks, sword-canes,
   12   and spears to be unconstitutional, id. at 14–15 (citing Nunn v. State, 1 Ga. 243
   13   (1846)), that court did so in light of its observation that “[a] statute which, under the
   14   pretence of regulating, amounts to a destruction of the right, or which requires arms
   15   to be so borne as to render them wholly useless for the purpose of defence, would
   16   be clearly unconstitutional,” Nunn, 1 Ga. at 249. Section 32310 does none of these
   17   things. See Hertz v. Bennett, 294 Ga. 62, 68 (2013) (observing that Nunn “was
   18   never intended to hold that men, women, and children had some inherent right to
   19   keep and carry arms or weapons of every description”).
   20
              9
   21            Heller relied on various historical authorities for this proposition, including
        4 Blackstone 148–149 (1769) (“The offence of riding or going armed, with
   22   dangerous or unu[s]ual weapons, is a crime again[s]t the public peace, by
        terrifying the good people of the land . . . .). While Bruen distinguished this
   23   authority in the context of a modern public carry restriction, it did so in support of
        its conclusion that, by the time of the founding, English law would not have
   24   justified a right to the public carry of arms suitable for self-defense only for those
        who demonstrate a special need for it. See Bruen, 142 S. Ct. at 2142. In contrast,
   25   Heller cited to this authority in support of its conclusion that the right to “keep and
        carry arms” includes those that are “in common use at the time,” which is in turn
   26   supported by the historical limitation on “the carrying of ‘dangerous and unusual
        weapons.’” 554 U.S. at 627 (emphases added). As such, Heller supports the notion
   27   that the distinction between a historical limitation on “carrying” and a modern
        limitation on “possessing” (that is, “keeping”) should not be determinative, so long
   28   as the respective burdens and justifications are comparable.
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    1        E.     Historical Prohibitions on “Trap Guns” Are Relevantly Similar.
    2        Several jurisdictions in the 18th and 19th centuries prohibited “trap guns”
    3   before and after the founding. See Def.’s Br. re: Dec. 15 Order at 20, 22. These
    4   laws imposed a comparable burden to Section 32310 on the right to self-defense
    5   because they were “dangerous weapons commonly used for criminal behavior and
    6   not for self-defense.” Oregon Firearms, 2022 WL 17454829, at *13. Indeed, their
    7   burden on that right was comparably minimal—the firearms themselves could still
    8   be operated for self-defense—and their justification was comparable because they
    9   were intended to prevent unintentional injuries and deaths. Def.’s Suppl. Br. at 39.
   10        Plaintiffs attempt to distinguish “trap gun” laws as regulating the “manner” of
   11   using a class of arms and because they were not intended to address violent crime.
   12   Pls.’ Suppl. Br. at 12. As explained above, a difference in the mode of regulation is
   13   insufficient to establish Section 32310’s unconstitutionality (infra at 4–5), but in
   14   any event, “trap gun” laws regulated a particularly dangerous configuration of an
   15   arm—just as Section 32310 does. And, Section 32310 does not solely address
   16   intentional “violent” acts, but unintentional acts as well. See Kolbe v. Hogan, 849
   17   F.3d 114, 127 (4th Cir. 2017) (en banc) (“when inadequately trained civilians fire
   18   weapons equipped with large-capacity magazines, they tend to fire more rounds
   19   than necessary and thus endanger more bystanders”), abrogated on other grounds
   20   by Bruen, 142 S. Ct. at 2126. These laws are thus sufficiently comparable.
   21                                          CONCLUSION
   22        For these reasons, and those discussed in the Attorney General’s other briefs,
   23   Section 32310 comports with the Second Amendment.10
   24         10
                 The Attorney General respectfully repeats this request for a stay of any
   25   judgment in Plaintiffs’ favor for a sufficient period to allow the Attorney General to
        seek a stay from the Ninth Circuit. Dkt. 118 at 61–63; Dkt. 142 at 25. That
   26   multiple district courts have credited many of the same arguments and historical
        evidence in other challenges to large-capacity magazine and assault weapon laws
   27   demonstrates that Defendants have made a “substantial case on the merits”
        involving “serious legal questions.” Leiva-Perez v. Holder, 640 F.3d 962, 966–67
   28   (9th Cir. 2011).
                                                        10
                   Defendant’s Brief in Response to Plaintiffs’ Brief Filed on February 10, 2023
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    1   Dated: February 21, 2023                          Respectfully submitted,
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